Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 1 of 29

EXHIBIT A

 
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 2 of 29

GAO

United States General Accounting Office

Report to the Ranking Minority

Member, Energy and Commerce
Committee, House of Representatives

 

May 2001

GAO-01-653

 

SECURITIES
INVESTOR
PROTECTION

steps Needed to
Better Disclose SIPC
Policies to Investors

 

&GAO

ae untability * Integrity * Reliability
 

Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 3 of 29

 

Contents

 

 

 

 

 

Letter 1
Executive Summary 3
Chapter 1 Introduction 14
SIPC’s Mission, Organization, Funding, and Oversight 15
SIPC Protection Versus Federal Deposit Insurance 17
How SIPC Liquidates a Member Firm and Protects Its Customers 18
SIPC Liquidation Proceedings Are Relatively Infrequent 21
Objectives, Scope, and Methodology 22
Chapter 2 Opportunities Exist to Improve the Disclosure of
SIPC’s Policies in Liquidations Involving
Unauthorized Trading 25
Unauthorized Trading Liquidations Accounted for Nearly Two-
Thirds of Liquidations Initiated From 1996 Through 2000 25
The Establishment of an Evidentiary Standard Is Authorized Under
SIPA 28
Bankruptcy Court Rejected the Stratton Oakmont Trustee’s
Procedure for Satisfying Certain Approved Unauthorized
Trading Claims 31
SIPC and SEC Have Missed Opportunities to Disclose Information
About the Evidentiary Standard to Investors 32
Conclusions 38
Recommendations 39
Agency Comments and Our Evaluation 40
Chapter 3 Disclosure of SIPC Policies in Liquidations
Involving Nonmember Affiliates Could Be
Improved 43
SIPC and Trustees Denied Nonmember Affiliates Claims on Several
Grounds 43
The Trustee and SIPC Concluded in the Most Recent Liquidation
That Customers of the Nonmember Affiliate Were Customers of
the SIPC Member 48
Information Available to Investors About Avoiding Risks That Can
Be Associated With Nonmember Affiliates Is Limited 49
Conclusions 50
Page i GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 4 of 29

 

 

 

 

 

 

 

 

Recommendations 52
Agency Comments and Our Evaluation 52
Chapter 4 Despite Positive Initiatives, SEC’s SIPC Oversight
Program Faces Some Challenges 53
SEC’s SIPC Oversight Examination Program Has Some Limitations 53
SEC Has Not Implemented SEC IG Recommendation on Sharing
Information About SIPC Issues 57
SEC OGC Has Established a Pilot Program to Monitor Ongoing
SIPC Liquidations 58
Conclusions 58
Recommendations 59
Agency Comments and Our Evaluation 59
Chapter 5 Investors May Confuse SIPC With Other Financial
Guarantee Programs as U.S. Financial Industries
Restructure 60
Some Investors May Confuse SIPC and State Insurance Guarantee
Associations With FDIC 60
Investor Confusion May Increase as Financial Services Industy
Consolidate 67
Conclusions 69
Recommendation 69
Agency Comments and Our Evaluation 69
|
Appendix I Comments From the Securities Investor Protection
Corporation 72
Appendix II Comments From the Securities and Exchange
Commission 83
Appendix IIT GAO Contacts and Acknowledgments 89
Page ii GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 5 of 29

 

 

 

 

 

Tables
Table 1: Selected SIPC Liquidations Involving Nonmember
Affiliates. 45
Table 2: Protections and Disclosure Rules of SIPC, FDIC, and State
Life/Health Insurance Guarantee Associations 62
Figures
Figure 1: Sample Back Page of Confirmation Statement 37
Figure 2: Official Symbols of SIPC and FDIC 65

 

Abbreviations
FDIC Federal Deposit Insurance Corporation
GLBA Gramm-Leach-Bliley Act of 1999
IG Inspector General
NERO Northeast Regional Office
NYSE New York Stock Exchange
OCIE Office of Compliance Inspections and Examinations
OGC Office of General Counsel
| SEC Securities and Exchange Commission
| SIPA Securities Investor Protection Act of 1970
SIPC Securities Investor Protection Corporation
SRO Self-Regulatory Organization
Page iii GAO-01-653 Securities Investor Protection
 

Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 6 of 29

ib

<= GAO

es 1OOOUNtability * Integrity * Reliability

United States General Accounting Office

Washington, DC 20548

May 25, 2001

The Honorable John D. Dingell
Ranking Minority Member
Committee on Energy and Commerce
House of Representatives

Dear Mr. Dingell:

This report responds to your November 16, 1999, and April 13, 2000,
requests that we assess the operations of the Securities Investor
Protection Corporation (SIPC), which was established by the Securities
Investor Protection Act of 1970. As you requested, this report discusses
(1) the basis for SIPC policies involving unauthorized trading and the
extent that these policies are disclosed to investors; (2) the basis for SIPC
policies involving the affiliates of SIPC member firms and the extent that
these policies are disclosed to investors; (3) the Securities and Exchange
Commission’s (SEC) oversight of SIPC; and (4) the disclosure rules for
SIPC, the Federal Deposit Insurance Corporation, and state insurance
guarantee associations, as well as the related implications for consumers
as the financial services industry consolidates. This report includes
recommendations to the Chairman, SIPC, and the Chairman, SEC,
regarding disclosure of SIPC policies and SEC’s SIPC oversight.

As we agreed with your office, we plan no further distribution of this
report until 30 days from its issuance date unless you publicly release its
contents sooner. We will then send copies of this report to Senator

Phil Gramm, Chairman, Senate Committee on Banking, Housing and
Urban Affairs; Senator Paul Sarbanes, Ranking Member, Senate
Committee on Banking, Housing and Urban Affairs; Representative

W.J. “Billy” Tauzin, Chairman, House Committee on Energy and
Commerce; Representative Michael G. Oxley, Chairman, House Committee
on Financial Services; Representative John J. LaFalce, Ranking Minority
Member, House Committee on Financial Services; Debbie Dudley Branson,
Acting Chairman, SIPC; Michael Don, President, SIPC; the Honorable
Laura Unger, Acting Chairman, SEC; Mr. Robert R. Glauber, President and
CEO, National Association of Securities Dealers; Richard Grasso,
Chairman and CEO, New York Stock Exchange; and other interested
committees and organizations. Copies will be made available to others
upon request.

Page 1 GAO-01-653 Securities Investor Protection

 
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 7 of 29

 

 

Major contributors to this report are acknowledged in appendix III. If you
or your staff have any questions, please call me or Orice M. Williams at
(202) 512-8678.

Sincerely yours,

Tethe PEL |

Richard J. Hillman
Director, Financial Markets
and Community Investment

 

| Page 2 GAO-01-653 Securities Investor Protection
 

Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 8 of 29

 

Executive Summary

 

The Securities Investor Protection Act of 1970 (SIPA) created the
Securities Investor Protection Corporation (SIPC) to provide certain
protections against losses to customers from the failure of a securities
firm. However, the large number of claims denied in several recent SIPC
liquidation proceedings, has raised concerns that certain SIPC policies and
practices may unduly limit the actual protection afforded customers.
Critics assert that SIPC and court-appointed trustees, who carry out the
liquidation proceedings, interpret SIPA so rigidly that they act
inconsistently with, if not contrary to, the customer-protection purpose of
the act. SIPC’s handling of two types of claims has been most heavily
criticized. The first type involves claims of unauthorized trading, which is
the buying or selling of securities in an investor’s account without the
investor’s prior approval. The second type involves claims from investors
who were doing business with a nonmember affiliate but believed that
they were dealing with a SIPC-member firm and, therefore, covered by
SIPC.’ These two types of claims were filed in 75 percent, or 28, of the 37
liquidation proceedings initiated by SIPC between 1996 and 2000.

The enactment of the Gramm-Leach-Bliley Act of 1999 (GLBA) eliminated
many legal barriers to affiliation among banks, securities firms, and
insurance companies, and other financial service providers. As the
financial services industry consolidates to provide one-stop shopping
mainly through affiliates, concerns have been raised about whether
consumers are adequately informed about the respective coverage
provided by SIPC, the Federal Deposit Insurance Corporation (FDIC), and
state insurance guarantee funds for various financial products. In light of
the concerns raised about SIPC’s implementation of SIPA and the
potential for increased investor confusion surrounding coverage, the
specific objectives of this report are to

« review the basis for SIPC’s policies and practices for validating and
satisfying claims involving unauthorized trading and the extent that these
policies were disclosed to investors;

e review the basis for SIPC’s policies and practices for determining claims in
liquidations of SIPC-member firms and their nonmember affiliates and the
extent that these policies were disclosed to investors;

« evaluate the Securities and Exchange Commission’s (SEC) oversight of
SIPC’s operations and compliance with SIPA; and

 

‘Most registered securities firms automatically become members of SIPC. However,
affiliates of securities firms are not required to become members of SIPC.

Page 3 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 9 of 29

 

Executive Summary

 

 

Results in Brief

compare the coverage provided by and disclosure rules for SIPC, FDIC,
and state insurance guarantee associations and the implications for
consumers as some banks, securities firms, and insurance companies
consolidate their operations.

GAO reviewed SIPA and its legislative history; reviewed legal briefs and
court decisions; and interviewed SIPC and SEC officials, SIPA trustees and
their attorneys, and claimants’ attorneys. GAO focused its review on
liquidations initiated between 1996 and 2000 involving introducing firms’
engaged in unauthorized trading and SIPC members with affiliates. GAO
also reviewed information relating to SEC’s oversight of SIPC and the
differences between SIPC and FDIC coverage and a summary of disclosure
policies typical of state insurance guarantee programs. A complete
discussion of GAO’s scope and methodology can be found in chapter 1.

 

SIPC’s policies and practices in liquidation proceedings involving certain
unauthorized trading claims have generated controversy because many
claims were denied or claimants received worthless securities instead of
cash.® Two practices are central to the controversy. The first practice
requires that claimants provide some form of objective evidence that they
complained about an unauthorized trade within a reasonable time after the
disputed trade. SIPC’s practice of requiring objective evidence, usually a
letter to the broker, is based on the authority that SIPA provides SIPC and
the trustees to establish standards to determine the validity of customer
claims. Although challenged by some claimants and critics as
unreasonable, courts have upheld this policy. The second practice involves
how SIPC and a trustee satisfied certain unauthorized trading claims.
Approved claims for substantial amounts of cash were satisfied with
worthless securities. Claimants have successfully challenged this practice
in a bankruptcy court, but the appeals process is ongoing.

SIPC and SEC, which plays an important role in investor education, have
not adequately disclosed to investors information about the policy on

 

“An introducing firm does not clear securities transactions or hold customer cash or
securities.

°See “Many Holes Weaken Safety Net for Victims of Failed Brokerages,” The New York
Times, Sept. 25, 2000; “Group Assails Insurer of Investors,” The Washington Post, July 21,
1999; and “Many Unhappy Returns: Ex-Stratton customers still fighting to recoup $130m,”
Newsday, Dec. 20, 1998.

Page 4 GAO-01-653 Securities Investor Protection

 
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 10 of 29

 

Executive Summary

 

providing objective evidence to prove unauthorized trading claims. For
example, SIPC’s informational brochure does not disclose information on
this policy to investors. For the claims we reviewed, investors seemed
unaware of the importance of documenting their complaints and were
more than twice as likely to telephone their broker to complain about an
unauthorized trade as to write a letter. GAO recommends that SIPC and
SEC take actions to better inform investors about this policy and the steps
investors can take to protect their interests.

SIPC’s position in liquidation proceedings involving SIPC members with
affiliates has also generated controversy because many claimants were
determined not to be customers of the failed member firm. SIPA
authorizes SIPC to liquidate only SIPC members. Therefore, only
customers of the member in liquidation are entitled to protection under
SIPA. In general, for a claim of a customer of the nonmember to be
approved, SIPC requires that the cash or securities involved has been
entrusted to the SIPC member firm.* Several claimants, whose claims were
denied because SIPC and the trustee determined that they did not entrust
funds with the SIPC member firm, appealed the determination in Federal
Court. In 2000, a Federal Court of Appeals agreed, ruling that under the
circumstances of that case, a claimant’s reasonable belief that he or she
was dealing with the member can serve as the basis for a claim. However,
in other cases, courts have upheld SIPC’s position that a claimant’s belief
does not constitute evidence that funds in fact were entrusted to the
member. Although SIPC has been involved in several liquidation
proceedings involving nonmember affiliates since 1996, there is limited
information available to help investors avoid the potential risks associated
with the nonmember affiliates. GAO recommends that SIPC and SEC take
actions to increase the availability of this information.

SEC, which is responsible for oversight of SIPC, faces important

challenges in its oversight of SIPC. Since 1971, SEC has initiated only three
examinations. The first two examinations focused on the adequacy of the
SIPC fund and administrative issues. The scope of the most recent
examination initiated in May 2000 was expanded to include many of the
more controversial issues raised in this report. To date, SEC examiners
have focused on a limited number of liquidations involving unauthorized
trading and none of the liquidation proceedings involving the affiliate

 

“Claimants must also meet other requirements such as the products purchased must be
securities as defined by SIPA.

Page 5 GAO-01-653 Securities Investor Protection

 
 

Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 11 of 29

 

Executive Summary

 

 

Background

issue. SEC officials agreed and said that they would expand the number of
liquidations reviewed. In addition, in March 2000, SEC’s Inspector General
(IG) issued a report’ suggesting that SEC establish a formal mechanism to
share information about SIPC proceedings, but SEC has not implemented
the recommendation to date. A formal mechanism to share information
could enhance SEC’s ability to discuss staffs’ varying opinions on issues
relevant to SIPC and ensure a comprehensive oversight program. GAO
recommends that SEC expand its oversight of SIPC operations to include a
larger sample of proceedings involving unauthorized trading and
nonmember affiliates and establish a formal coordination mechanism to
share information about SIPC liquidation proceedings within SEC.

Consolidation in the financial services industry has raised concerns about
whether consumers are adequately informed about the respective
differences in coverage provided by SIPC; FDIC; and, to a lesser degree,
state insurance guarantee funds as more companies offer banking,
securities, and insurance products from a single location or through an
affiliated entity. Differences in the coverage largely stem from the
differences in the products offered and the nature of the relationship
between the financial institution (bank, securities firm, or insurance
company) and its customers. Many regulatory and securities industry
officials that GAO contacted said that consumers already confuse SIPC
with FDIC because of similarities in the amount of cash coverage and
misunderstandings about what that coverage entails. Without improved
investor education—especially that SIPC does not cover losses due to
changes in market prices—investor confusion is likely to increase as the
U.S. financial industry continues to consolidate and offer similar financial
products under a single corporate umbrella. GAO recommends that SIPC
improve the standard disclosure language it uses to describe its coverage.

 

By law, securities firms are to keep customer accounts separate from the
firms’ funds. For the firms that fail to do this and that are liquidated by
SIPC, SIPC’s statutory mission is to promptly replace missing cash and
securities in an investor’s account up to the statutory limits. Securities
firms registered with SEC automatically become members of SIPC and
must pay an annual assessment to the SIPC fund. The SIPC fund, valued at
$1.2 billion as of February 9, 2001, is used to replace the missing securities

 

5 Oversight of Securities Investor Protection Corporation. Securities and Exchange
Commission Office of Inspector General. Audit Report No. 301. Mar. 31, 2000.

Page 6 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 12 of 29

 

Executive Summary

 

 

and cash and to pay administrative costs of the liquidation proceeding.
However, SIPC does not protect against losses from declines in the market
value of securities.

In typical proceedings under SIPA, SEC or the Self-Regulatory
Organizations—such as the NASDR*’ and the New York Stock Exchange—
notify SIPC when a SIPC member firm is in financial trouble. Upon
receiving such information, SIPC may file a petition in a federal district
court to liquidate the firm.’ The district court appoints a trustee at SIPC’s
recommendation. SIPC serves as the trustee in some cases. The liquidation
proceeding is then removed to a U.S. bankruptcy court. The trustee
notifies the firm’s customers of the liquidation proceeding. Typically, the
trustee tries to sell or otherwise transfer customer accounts to another
SIPC member. Customers must file claims to recover missing funds or
securities from the member in liquidation. The trustee and SIPC staffs
review submitted claims and related information and notify individuals
whether their claims are approved or denied. To the extent that the SIPC
member firm’s assets are insufficient, SIPC advances funds for the
payment of customer claims up to the statutory limits. Claimants may seek
review of the trustee’s decision on their claims by the bankruptcy court. If
the trustee’s fees and administrative expenses cannot be recovered from
the members’ assets, SIPC advances funds to cover them.

 

 

Principal Findings

SIPC’s Policies and Pursuant to the authority provided under SIPA, SIPC and trustees

Practices Involving genera ae claimants . prowice -obetve evidence at ney 1
nauthorized Tradin complained within a reasonable time after the allegedly unauthorize

N are ditional g trade or their claims will be denied. However, SIPC and the trustees may

Disclosure consider other forms of objective evidence, such as complaints to

regulators. SIPC and the trustees assert that objective evidence, such as
reliable and timely documentation showing a trade was unauthorized, is
necessary to ensure claim accuracy and to protect against fraudulent
claims. Although courts have upheld this policy, critics argue that the
standard is unreasonable and places an undue burden on claimants. For

 

*NASDR, Inc., is the regulatory arm the National Association of Securities Dealers.

"In certain situations, SIPC may elect to use a direct payment procedure in lieu of
instituting a liquidation proceeding to pay customer claims.

Page 7 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 13 of 29

 

 

Executive Summary

 

example, critics of the policy believe that it is unrealistic to expect
unsophisticated investors to complain about unauthorized trades in
writing within a specified period of time because securities orders and
related transactions routinely are conducted by telephone. Available
evidence lends support to the contention that investors are unaware of
SIPC’s practice. For example, GAO reviewed a random and representative
sample of 152 unauthorized trading claims from 2 of the larger liquidation
proceedings and found that about 87 percent of the claimants indicated
that they telephoned to complain about unauthorized trades compared
with 38 percent of the claimants who provided letters.

The second controversial practice in SIPC liquidations involving
unauthorized trading occurred in a case in which the trustee satisfied
certain claims for cash by unwinding all trades determined to be
unauthorized, including those not specified in the claims. As a
consequence of this process, the trustee treated the claims as claims for
securities. This practice resulted in some claimants receiving worthless
securities, rather than substantial amounts of cash for which they had filed
claims. In this case, claimants filed claims for cash that had been used to
make unauthorized purchases of securities. However, the trustee
determined that the securities had been purchased with proceeds from
prior unauthorized sales of securities. Therefore, SIPC and the trustee
determined that the claimants were entitled to the securities that were in
the account before the unauthorized sales, rather than the cash that was
received from the sales and placed in the account before the unauthorized
purchase. Claimants challenged the trustee’s practice, and a federal
bankruptcy court rejected the practice as not authorized by SIPA or any
other law. SIPC and the trustee maintained that SIPA requires the trustee’s
approach. The court determined that the claims for cash should be paid
because the statute does not authorize the trustee to consider trades not
disputed in a claim form and, therefore, treat a claim as if it were a claim
for securities. According to SIPC officials, SIPC and the trustee have filed
notices of appeal.

SIPC and SEC, which has an important role in investor education, have not
adequately disclosed information about the importance of documenting
unauthorized trading complaints. Although SIPC and SEC—through an
informational brochure and Web sites—provide much useful information,
they do not fully and consistently explain the need to complain in writing
about unauthorized trades within a reasonable time period of the
unauthorized trade. SEC’s Web site, for example, provided inconsistent
advice about when to telephone complaints and when to follow up in
writing. Limited disclosure may, in part, explain why many investors with

Page 8 GAO-01-653 Securities Investor Protection
 

Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 14 of 29

 

Executive Summary

 

unauthorized trading complaints appear to have been unaware of the
importance of documenting their complaints about trades that were not
authorized in a timely manner.

 

Information Shared With
Investors About SIPC’s
Policies Involving
Nonmember Affiliates Is
Not Adequate

Under SIPA, only customers of a SIPC member firm qualify for SIPA
protection and only securities defined in the act and determined to be in
the member's custody are covered. In three SIPC liquidations involving
nonmember affiliates that GAO reviewed, trustees or SIPC denied claims
they determined were not covered by SIPA because one or more of these
requirements were not satisfied, as well as for other reasons. SIPC and the
trustees denied certain claims in these proceedings, for example, on the
grounds that persons who dealt with the affiliates were not customers of
the SIPC member firms. They said that certain evidence, including checks
made out to the affiliates or fund transfers to accounts with the affiliates,
demonstrated that the claimants were not the customers of the SIPC
members. In addition, SIPC and the trustees determined that the
investments purchased were not securities as defined in the act.

In 2000, claimants in one liquidation involving a nonmember affiliate
successfully challenged the trustee’s and SIPC’s denials of their claims.
The claimants believed that they qualified as customers of the SIPC
member because the SIPC member and its affiliates were presented to
them and operated as a single enterprise and that the investments at issue
were securities. Moreover, the common owner used the member and
nonmember in a scheme to defraud customers. In August 2000, the Federal
Court of Appeals for the Eleventh Circuit found that the claimants
reasonably believed that they were dealing with the SIPC member and that
the owner of both entities used funds raised through the nonmember
affiliate as if they were the funds of the SIPC member. The court also
found that the claimants deposited cash to purchase securities covered
under the act. However, other courts have supported SIPC’s and the
trustee’s position in similar cases.

Although disclosure alone would not resolve all of the issues surrounding
these types of liquidations, greater disclosure could help investors better
understand SIPC liquidation proceedings and what steps they could take
to protect their interests. SIPC’s informational brochure provides useful
information that tells investors that they should avoid writing checks to
anyone other than the firm, including affiliates. However, SEC does not
require SIPC member firms to routinely distribute the SIPC brochure to
investors. In addition, SEC’s Web site provides some information on
dealings with affiliates, but the information is generally limited.

Page 9 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 15 of 29

 

Executive Summary

 

SEC’s SIPC Oversight Has
Improved but Faces
Ongoing Challenges

Potential Exists for
Increased Investor
Confusion

SEC has taken steps to improve its oversight of SIPC. However, the
oversight program faces ongoing challenges. SEC’s Division of Market
Regulation (Market Regulation) has primary responsibility for ensuring
SIPC’s compliance with SIPA. Market Regulation has engaged in several
important oversight activities, such as monitoring the size of the SIPC
customer-protection fund and maintaining regular communication with
SIPC. However, Market Regulation initiated only two SIPC examinations
between 1971 and 1999.

In 2000, SEC started a joint examination led by Market Regulation and the
Office of Compliance Inspections and Examinations (OCIE). Consistent
with observations made by SEC’s IG, the scope of this examination was
expanded. The examination guidelines include some of the issues raised
by the more recent controversial liquidations discussed in this report. As
of March 2001, the sample of liquidations reviewed by SEC included 4 of
the 28 liquidations involving the controversial policies and practices and
none of nonmember affiliate proceedings. In response to this observation,
SEC staff stated that they plan to review additional liquidations involving
unauthorized trading and the nonmember affiliate issue.

In September 2000, SEC also established a pilot program to monitor SIPC
liquidation proceedings. Although this program is a positive development,
it is too soon to determine its efficacy. The pilot program also highlights
the need for more formal information sharing among SEC units. The IG
report on SEC’s SIPC oversight found that communication among SEC
units could be improved and recommended that SEC units establish a
formal method for sharing information. GAO’s review found that SEC had
not yet implemented the IG recommendation. Given that different offices
and divisions receive different information about SIPC liquidations, more
formal communication among the groups that are involved in reviewing
these liquidations—such as Market Regulation, OCIE, and the Division of
Enforcement (Enforcement)}—is important. Without a formal means to
share information across organizational lines, SEC’s ability to establish a
comprehensive SIPC oversight strategy could be hampered. SEC officials
said that they plan to begin holding quarterly meetings to share
information about SIPC.

The type of financial protection that SIPC provides is similar to that
provided by FDIC and, to some extent, state life and health insurance
guarantee associations, but important differences exist. Consumers may
confuse the coverage offered by these programs. When a member firm
fails, if customer accounts are not transferred to another institution, both
SIPC and FDIC return up to $100,000 of missing customer or depositor

Page 10 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 16 of 29

 

Executive Summary

 

cash; however, SIPC also replaces missing securities. The total amount of
coverage under SIPA is up to $500,000, of which no more than $100,000
can be a claim for cash. Customer securities held by a securities firm are
not assets of the firm, but are held in custody by the firm for its customers.
SIPA protects the firm’s obligation to return these assets. Because
securities, unlike cash, are subject to price fluctuations, the securities
returmed to a customer can be worth less than their purchase price. In
contrast, FDIC protects deposits, which are obligations of the accepting
firm, which includes banks and thrifts. FDIC protects depositors against
the risk that the institution that accepted the deposit will fail and not have
assets sufficient to return a customer's deposit. Unlike securities accounts,
cash deposits do not fluctuate in value. Therefore, in order to fulfill failed
member depository obligations, FDIC returns the amount in the account
up to the statutory limit. The state life/health insurance guarantee
associations also serve to preserve an insurance company’s obligation to
those insured. The state insurance associations guarantee that owners of
covered products will not lose their insurance coverage up to certain
limits and step in to fulfill the obligations of the policy when an insured
institution fails.

According to many regulatory and securities industry officials, some
consumers likely confuse SIPC with FDIC, given the similarities in
coverage amounts, misunderstandings between the nature of securities
investing versus making deposits, and the similarity in the SIPC and FDIC
logos. Yet, neither SIPC or SEC requires firms who are SIPC members to
disclose in advertising to the investing public a key fact that might help
consumers distinguish SIPC from FDIC: that SIPC does not protect against
losses due to declines in their securities’ market value.

GLBA allows banks, securities firms, and insurance companies, primarily
through affiliates, to underwrite and sell each other’s traditional financial
products to a degree not previously allowed. To the extent that financial
companies consolidate and begin to offer a full range of banking,
securities, and insurance products to the public, individuals will be more
likely to purchase financial products from the same corporate family that
are covered by different guarantee organizations. Any public confusion
that already exists between SIPC and FDIC or the state insurance
guarantee associations may increase. Given the limitations of SIPC’s
disclosure requirements, unsophisticated investors who do not fully
understand the difference between investing in securities and depositing
funds in a bank may not realize that SIPC will not protect their securities
investments from certain losses, such as declines in market value.

Page 11 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 17 of 29

 

 

Recommendations

 

Agency Comments
and Our Evaluation

Executive Summary

 

To improve investor awareness of SIPC’s policies, practices, and coverage,
GAO recommends that the Chairman, SIPC,

as part of SIPC’s ongoing effort to revise the informational brochure and
Web site, include a full explanation of the steps necessary to document an
unauthorized trading claim and

amend SIPC advertising bylaws to require that the official explanatory
statement about a firm’s membership in SIPC include a statement that
SIPC coverage does not protect investors against losses caused by changes
in the market value of their securities.

In addition, SEC can take steps to improve the information it provides to
investors and that investors receive about SIPC and about how to protect
investor interests. GAO recommends that the Chairman, SEC

require SIPC member firms to provide the SIPC brochure to their
customers when they open an account and encourage firms to distribute
the brochure to its existing customers more widely and

review the sections of SEC’s Web site and, where appropriate, advise
customers to complain promptly in writing when they believe trades in
their account were not authorized and update the SEC Web site to include
a full explanation of SIPC’s policies and practices in liquidations involving
nonmember affiliates.

In chapter 2 of this report, GAO makes additional recommendations to the
SEC Chairman to improve disclosure.

Finally, to improve oversight of SIPC operations, GAO recommends that
the Chairman, SEC

ensure that OCIE and Market Regulation include in their ongoing SIPC
examination a larger sample of liquidations involving unauthorized trading
and nonmember affiliates claims and

require Market Regulation, OCIE, General Counsel, and Enforcement to
establish a formal procedure to share information about SIPC issues.

 

GAO received written comments on a draft of this report from SIPC and
SEC. These comments are discussed in greater detail at the end of
chapters 2 through 5. In addition, SIPC’s and SEC’s comments are printed
in appendixes I and II, respectively. SIPC and SEC also provided technical
comments, which have been incorporated into the report where
appropriate. Officials from SIPC and SEC agreed with most of the

Page 12 GAO-01-653 Securities Investor Protection

 
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 18 of 29

 

Executive Summary

 

conclusions and recommendations in the draft report and both have begun
to take steps to implement several of GAO’s recommendations.

For example, SIPC officials said that they have begun to implement
| GAO’s recommendation concerning improving disclosure of SIPC’s
unauthorized trading policies and practices. Specifically, SIPC officials
| said that changes they are making to the informational brochure would
urge investors to complain about unauthorized trading in writing. In
addition, SEC officials said that they would consider the appropriateness
of requiring firms to distribute the SIPC brochure to new customers and
existing customers more widely. In addition, SEC officials said that they
had already reviewed SEC’s Web site and made changes in response to
GAO’s recommendations where appropriate. SEC officials also agreed
with GAO’s recommendations concerning its oversight effort. Specifically,
SEC officials agreed to review additional liquidation proceedings during its
ongoing examination, and SEC officials stated that they would hold
quarterly meetings to discuss various issues related to SIPC.

SIPC disagreed with GAO’s recommendation that it amend its bylaws to
require that any statement about a firm’s membership include a statement
that SIPC coverage does not protect investors against losses caused by
changes in the market value of their securities. First, SIPC officials believe
SIPC lacks the authority to implement such a change in SIPC’s bylaws.
Second, they believe such a statement would be misleading. GAO has
revised the recommendation to make clear that it applies to only SIPC’s
“official explanatory statement.” On the basis of GAO’s conversation with
SEC officials concerning SIPC’s authority to amend its bylaws and GAO’s
review of the statute and legislative histories, GAO continues to believe
that SIPC has authority, with SEC approval, to determine what should be
disclosed in its official explanatory statement. GAO also does not share
SIPC’s concern that simply stating that SIPC does not protect against
losses caused by changes in the market value of securities would be
misleading. Such disclosure would be similar to information disclosed in
SIPC’s informational brochure, as well as information contained on the
Web sites of SEC and NASDR describing SIPC coverage.

Page 13 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 19 of 29

 

Chapter 1: Introduction

 

The Securities Investor Protection Act of 1970 (SIPA) established the
Securities Investor Protection Corporation (SIPC) to provide certain
financial protections to the customers of insolvent securities firms. As
required by SIPA, SIPC either liquidates a failed firm itself Gin cases where
the liabilities are limited and there are less than 500 customers) or a
trustee selected by SIPC and appointed by the court liquidates the firm.' In
either situation, SIPC is authorized to make advances from its customer
protection fund to promptly satisfy customer claims for missing cash and
securities up to amounts specified in SIPA. Between 1971 and 2000, SIPC
initiated a total of 287 liquidation proceedings and paid about $234 million
to satisfy such customer claims.

In the past 5 years, some SIPC liquidation proceedings have involved
controversial policies and practices because trustees denied large
numbers of investor claims.’ One controversial practice involved the
trustees’ denials of many claims because claimants did not satisfy the
trustee’s requirement that the claimants reliably demonstrate that trading
in their accounts was unauthorized (i.e., the firm had bought or sold
securities for a customer’s account without approval). Another
controversial practice involved denials of claims of individuals who said
they believed that they were customers of a firm covered under SIPA but
actually had been dealing with an affiliated entity not covered by SIPA. In
these liquidations, critics argue that SIPC’s main goal has been to protect
its industry-supplied fund rather than to protect customers as
contemplated by SIPA. SIPC maintains that its policies are consistent with
SIPA. An additional issue related to SIPC coverage has emerged from
another source: consolidation in the financial services industry. As
securities firms, banks, and insurance companies begin to merge and sell
each others’ traditional products through affiliates, it raises important
implications about the extent of disclosure that SIPC should require its
member firms to make concerning the program’s coverage. In response to
a request from the Ranking Member of the House Energy and Commerce
Committee, we reviewed SIPC’s policies and practices in liquidations
involving unauthorized trading and affiliate issues, Securities and

 

'SIPA authorizes an alternative to liquidation under certain circumstances when all
customer claims aggregate to less than $250,000.

"See “Many Holes Weaken Safety Net for Victims of Failed Brokerages,” The New York
Times, Sept. 25, 2000; “Group Assails Insurer of Investors,” The Washington Post, July 21,
1999; and “Many Unhappy Returns: Ex-Stratton customers still fighting to recoup $130m,”
Newsday, Dec. 20, 1998.

Page 14 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 20 of 29

 

Chapter 1: Introduction

 

 

SIPC’s Mission,
Organization,
Funding, and
Oversight

Exchange Commission (SEC) oversight of SIPC, and the potential for
greater investor confusion as banks, securities firms, and insurance
companies offer financial products from the same corporate family that
are covered by different guarantee organizations.

 

SIPC was established in response to a specific problem facing the
securities industry in the late 1960s: how to ensure that customers recover
their cash and securities from securities firms that fail or cease operations
and cannot meet their custodial obligations to customers. The problem
peaked in the late 1960s, when outdated methods of processing securities
trades, coupled with the lack of a centralized clearing system able to
handle a large surge in trading volume, led to widespread accounting and
reporting mistakes and abuses at securities firms. Before many firms could
modernize their trade processing operations, stock prices declined
sharply, which resulted in hundreds of securities firms merging, failing, or
going out of business. During that period, some firms used customer
property for proprietary activities, and procedures broke down for proper
customer account management, making it difficult to locate and deliver
securities belonging to customers. The breakdown resulted in customer
losses exceeding $100 million because failed firms did not have their
customers’ property on hand. Congress became concerned that a
repetition of these events could undermine public confidence in the
securities markets.

SIPC’s statutory mission is to promote confidence in securities markets by
allowing for the prompt return of missing customer cash and/or securities
held at a failed firm. SIPC fulfills its mission by initiating liquidation
proceedings where appropriate and transferring customer accounts to
another securities firm or returning the cash or securities to the customer
by restoring to customer accounts the customer’s “net equity.” SIPA
defines net equity as the value of cash or securities in a customer’s
account as of the filing date, less any money owed to the firm by the
customer, plus any indebtedness the customer has paid back with the
trustee’s approval within 60 days after notice of the liquidation proceeding
was published. The filing date typically is the date that SIPC applies to a
federal district court for an order initiating proceedings.’ SIPA sets

 

>Under SIPA, the filing date is the date on which SIPC files an application for a protective
decree with a federal district court, except that the filing date can be an earlier date under
certain circumstances, such as the date on which a Title 11 bankruptcy petition was filed.

Page 15 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 21 of 29

 

Chapter 1: Introduction

 

coverage at a maximum of $500,000 per customer, of which no more than
$100,000 may be a claim for cash. SIPC is not intended to keep firms from
failing or to shield investors from losses caused by changes in the market
value of securities.

SIPC is a nonprofit corporation governed by a seven-member Board of
Directors that includes two U.S. government, three industry, and two
public representatives. SIPC has 29 staff located in a Washington, D.C.,
office. Most securities firms that are registered as broker-dealers under
Section 15(b) of the Securities Exchange Act of 1934 automatically
become SIPC members regardless of whether they hold customer
property. As of December 31, 2000, SIPC had 7,033 members. SIPA
excludes from membership securities firms whose principal business, as
determined by SIPC subject to SEC review, is conducted outside of the
United States, its territories, and possessions. Also, a securities firm is not
required to be a SIPC member if its business consists solely of (1)
distributing shares of mutual funds or unit investment trusts,‘ (2) selling
variable annuities,’ (3) providing insurance, or (4) rendering investment
advisory services to one or more registered investment companies or
insurance company separate accounts. SIPA, as recently amended, also
exempts a certain class of firms that are registered with SEC solely
because they may affect transactions in single stock futures.

SIPA covers most types of securities such as notes, stocks, bonds, and
certificates of deposit.’ However, some investments are not covered. SIPA
does not cover any interest in gold, silver, or other commodity; commodity
contract; or commodity option. Also, SIPA does not cover investment
contracts that are not registered as securities with SEC under the
Securities Act of 1933. Shares of mutual funds are protected securities, but
securities firms that deal only in mutual funds are not SIPC members and
thus their customers are not protected by SIPC. In addition, SIPA does not

 

“A unit investment trust is an SEC-registered investment company, which purchases a
fixed, unmanaged portfolio of income-producing securities and then sells shares in the
trust to investors.

°An annuity is a contract that offers tax-deferred accumulation of earnings and various
distribution options. A variable annuity has a variety of Investment options available to the
owner of the annuity, and the rate of return the annuity earns depends on the performance
of the investments chosen.

Typically, bank certificates of deposit are not securities under the Securities Exchange Act
of 1934, however, they are defined as securities in SIPA.

Page 16 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 22 of 29

 

Chapter 1: Introduction

 

 

SIPC Protection
Versus Federal
Deposit Insurance

cover situations where an individual has a debtor-creditor relationship-—
such as a lending arrangement—with a SIPC member firm.

SIPC has a fund valued at $1.2 billion as of February 9, 2001, that it uses to
make advances to trustees for customer claims and to cover the
administrative expenses of a liquidation proceeding.’ Administrative
expenses in a SIPC liquidation include the expenses incurred by a trustee
and the trustee’s staff, legal counsel, and other advisors. The SIPC fund is
financed by annual assessments on all member firms—periodically set by
SIPC—and interest generated from its investments in U.S. Treasury notes.®
If the SIPC fund becomes or appears to be insufficient to carry out the
purposes of SIPA, SIPC may borrow up to $1 billion from the U.S.
Treasury through SEC (i.e., SEC would borrow the funds from the U.S.
Treasury and then re-lend them to SIPC). In addition, SIPC has a $1 billion
line of credit with a consortium of banks.

SIPA gives SEC oversight responsibility over SIPC. SEC may sue SIPC to
compel it to act to protect investors. SIPC must submit all proposed
changes to rules or bylaws to SEC for approval, and may require SIPC to
adopt, amend, or repeal any bylaw or rule.’ In addition, SIPA authorizes
SEC to conduct inspections and examinations of SIPC and requires SIPC
to furnish SEC with reports and records that it believes are necessary or
appropriate in the public interest or to fulfill the purposes of SIPA.

 

SIPC and the Federal Deposit Insurance Corporation (FDIC) transfer or
return customer property in the event that a member fails; however, there
are important differences in the protection provided to investors. First,
while both protect cash left with the banks or securities firms, only SIPC
protects securities. Second, securities firms act as custodians for
customers’ securities; this property does not become an asset of the firm.
SEC rules prohibit securities firms from using customer securities or cash

 

"The SIPC board decided the fund balance should be raised to $1 billion to meet the long-
term financial demands of a very large liquidation. The SIPC balance reached $1 billion in
1996.

5As of February 2001, the annual assessment for SIPC members was $150.

oA proposed rule change becomes effective 30 days after it is filed with SEC, unless the
period is extended by SIPC or SEC takes certain actions. A proposed rule change may take
effect immediately if it is of a type that SEC determines by rule does not require SEC
approval.

Page 17 GAO-01-653 Securities Investor Protection
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 23 of 29

 

Chapter 1: Introduction

 

 

How SIPC Liquidates
a Member Firm and

Protects Its
Customers

to finance their own operations, and require firms to maintain minimum
levels of liquid assets to meet obligations to customers and other market
participants. However, if a firm fails and is unable to return all customer
securities or cash, SIPA provides limited protection, namely, the return of
the securities or cash in a given customer’s account up to the statutory
limits. SIPC generally returns the securities or cash that should have been
in the investor’s account on the liquidation filing date. Therefore, if the
price of the securities declines, SIPC does not protect investors from that
loss. However, investors benefit from continuing to hold the securities if
the price increases. Deposits held by a bank or thrift are different from
investments held by securities firms. Unlike securities, cash deposits do
not fluctuate in value. In addition, deposits are obligations of the
institution that accepts them. Banks are free to use these customer
deposits to finance their own operations (e.g., make loans or other
investments). If a bank makes bad investment decisions and fails with
insufficient assets to meet its liabilities to depositors, FDIC will provide
coverage up to the $100,000 limit.

 

When SEC or a self regulatory organization (SRO), such as NASDR, Inc.,”°
informs SIPC that one of its member firms is in or is approaching financial
difficulty, SEC, the SROs, and SIPC take steps to determine whether the
firm might fail and whether and to what extent customers, as that term is
defined in SIPA, may be exposed. SIPC initiates liquidation proceedings if
it determines that the member firm has failed or is in danger of failing to
meet its obligations to customers, among other factor(s).” SIPC initiates
liquidation proceedings by applying for a protective order in a federal
district court or initiating a direct payment procedure.” The firm has an
opportunity to challenge the ruling. If the court issues the order, the court
appoints a disinterested trustee selected by SIPC, or, in certain cases, SIPC

 

*NASDR, Inc., is the regulatory arm of the National Association of Securities Dealers,
which was granted self-regulatory authority under the Securities Exchange Act of 1933.

“For SIPC to initiate a proceeding, at least one of the following other factors must exist (1)
the firm must be insolvent under the Bankruptcy Code or unable to meet its obligations as
they become due; (2) the firm is subject to a court or agency proceeding in which a
receiver, liquidator, or trustee has been appointed for the member; (3) the firm is not
compliant with applicable financial responsibility rules of the Commission or SROs; or (4)
the firm is unable to show compliance with such rules.

27m the smallest proceedings (in which, among other factors, the claims of all customers
are less than $250,000), SIPC directly pays customer claims without filing an application for
a protective order with a court and without the appointment of a trustee.

Page 18 GAO-01-653 Securities Investor Protection
 

Chapter 1: Introduction

 

itself, to liquidate the firm.” The district court orders removal of the entire
liquidation proceeding to the federal bankruptcy court for that district. To
the extent that it is consistent with SIPA, the proceeding is conducted
pursuant to pertinent provisions of the Bankruptcy Code. SIPA requires
that the trustee investigate facts and circumstances relating to the
liquidation; report to the court facts indicating fraud, misconduct,
mismanagement, or irregularities; and submit a final report to SIPC and
others designated by the court. Also, the trustee is to periodically report to
the court and SIPC on its progress in distributing cash and securities to
customers.

Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 24 of 29

Promptly after being appointed, the trustee is to publish a notice of the
proceeding in one or more major newspapers, in a form and manner
determined by the court. The trustee also is to mail a copy of the notice to
existing and recent customers listed on the firm’s books and records, and
is to provide notice to creditors in the manner prescribed by the
Bankruptcy Code. Customers must file written statements of claims. The
notice typically informs customers how to file claims and explains the
deadlines for filing claims. Two deadlines apply. One is set by the
bankruptcy court supervising the proceeding and the other is set by SIPA.
The deadline set by the bankruptcy court for filing customer claims
applies to customer claims for net equity. Under SIPA, the deadline may
not exceed 60 days after the date that notice of the proceeding is
published. Failure to satisfy the deadline can affect what the customer
may be able to recover. The second deadline occurs 6 months after the
publication date. SIPA mandates that no customer or general creditor
claim received after the 6-month deadline can be allowed by the trustee,
except for claims filed by the United States, any state, infant, or certain
incompetent persons.

The trustee and SIPC staffs review each claim that the trustee receives. In
some cases, the trustee’s staff, SIPC staff, or both may write a brief
analysis of the claim, which recommends whether the claim should be
allowed or denied. If the trustee and SIPC staff initially disagree over
whether the claim is valid, they hold a discussion. Typically, if the claim
lacks sufficient supporting evidence, the trustee will write to the claimant
requesting additional information. Once a final decision is made, the

 

SIPC may decide to serve as a trustee in any case where it determines that the firm's
liabilities to unsecured general creditors and subordinated lenders appear to aggregate to
| less than $750,000 and it appears that there are less than 500 customers.

Page 19 GAO-01-653 Securities Investor Protection

On ee
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 25 of 29

 

Chapter 1: Introduction

 

trustee sends a determination letter to each claimant that informs him or
her of the decision and its basis. The letter also informs a claimant of his
or her right to object to the determination and how to do so. The
bankruptcy court judge overseeing the liquidation rules on customers’
objections after holding a hearing on the matter. Decisions of the
bankruptcy court may be appealed to the appropriate federal district
court, and then upward through the federal appellate process.

Under the typical SIPA property distribution process, SIPC customers are
to receive any securities that the firm holds that are registered in their
name or that are in the process of being registered in their name, subject
to the payment of any debt to the firm. Any other customer property in an
account is part of a customer’s net equity as calculated by the trustee. Net
equity claims are satisfied first by allowing customers to share on a pro
rata basis in the firm’s remaining customer property. The trustee may use
up to $500,000 advanced from the SIPC fund to satisfy a customer’s claim
remaining after the distribution; however, only $100,000 may be advanced
to satisfy a claim for cash. SIPA specifies that a customer claim for
securities must be satisfied with securities whenever feasible. That is, if
the firm being liquidated does not possess the securities, then the trustee
must purchase them in the open market and return them to the customer if
a fair and orderly market for the securities exists.

Investors who attain SIPC customer status are a preferred class of
creditors compared with other individuals or companies that have claims
against the failed firm and are much more likely to get a part or all of their
claims satisfied. This is because SIPC customers share in any customer
property that the bankrupt firm possesses before any other creditors may
do so. Moreover, the trustee may use advances from the SIPC fund up to
the $500,000/$100,000 limits to satisfy claims that cannot be fully satisfied
by the estate of customer property. In fact, since many bankrupt securities
firms have no assets left at all, SIPC customers may be the only parties
with claims against the firm to have any of their claims satisfied.

SIPC liquidates clearing and introducing firms, which are distinct entities.
Introducing firms do not clear securities transactions or hold customer
cash or securities. Instead, introducing firms contract with clearing firms
to clear their customers’ transactions and hold their customers’ cash and

 

SIPC may advance funds to the trustee to satisfy claims prior to the distribution of
customer property.

Page 20 GAO-01-653 Securities Investor Protection

 
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 26 of 29

 

Chapter 1: Introduction

 

 

SIPC Liquidation
Proceedings Are
Relatively Infrequent

securities. Introducing firms introduce their customers to a clearing firm
on a fully disclosed basis. This means that each introducing firm customer
has a securities account at the clearing firm in the customer’s name and in
which the customer’s securities transactions are cleared and securities
and cash are held. Under this scenario, the customers know their accounts
are at the clearing firm, and the clearing firm treats them as customers for
purposes of securities regulations governing custody of customer assets
and the financial responsibility of broker-dealers. In general, the clearing
firm, not the introducing firm, prepares and mails trade confirmations and
periodic account statements.’° Some SIPC liquidations have involved
introducing firms that stole or misplaced customer property intended to
go to a clearing firm.

 

SIPC has initiated a fairly small number of liquidations each year
compared with the number of securities firms that go out of business
annually. Between its inception in 1971 and the end of 2000, SIPC
commenced 287 liquidations of member securities firms. From 1996
through 2000, SIPC initiated a total of 37 liquidations of member firms or
about 7 per year. By contrast, SIPC data indicate that hundreds of SIPC
member firms go out of business each year without ever becoming SIPC
liquidations. For example, our 1992 report found that between 1971 and
1991, 20,344 SIPC members went out of business, but only 228 (about 1
percent) became SIPC liquidations. Similarly, in 1999, a total of 865 SIPC
members went out of business but SIPC initiated liquidation proceedings
against a total of 9 firms.

Many of the thousands of SIPC members that have gone out of business
without SIPC involvement were firms that traded solely for their own
accounts, did not hold customer property, and did not introduce customer
accounts to a clearing firm. Accordingly, there were no customers in need
of SIPC protection. In addition, because introducing firms are not
permitted to hold customer cash or securities, most go out of business
without any customer securities or cash to return to customers. (These
assets are at the clearing firm.) However, if an introducing firm improperly
holds, loses, or embezzles customer securities or cash, there may be a
need for a SIPA liquidation. Furthermore, SEC’s financial responsibility

 

According to SEC, in some cases, the introducing firm sends the confirmation or account
statement rather than the clearing firm.

‘Salthough some firms fail financially, others go out of business for nonfinancial reasons,
such as mergers.

Page 21 GAO-01-653 Securities Investor Protection

 
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 27 of 29

 

Chapter 1: Introduction

 

 

Objectives, Scope,
and Methodology

and customer protection rules establish controls that securities firms must
follow, which promote firm solvency and the safekeeping of customer
assets. Regulators monitor compliance with these rules and intervene
when problems arise prior to a firm’s failure. SEC and SROs—such as
NASDR and the New York Stock Exchange (NYSE)—have primary
responsibility for overseeing and regulating SIPC member firms. SIPC does
not have any authority under SIPA to regulate or examine its membership.
In some cases, securities regulators may oversee the transfer of customer
accounts from a troubled firm to a healthy firm without the need for SIPC
involvement.

 

Our objectives were to (1) review the basis for SIPC’s policies and
practices for validating and satisfying claims involving unauthorized
trading and the extent that these policies were disclosed to investors; (2)
review the basis for SIPC’s policies and practices for determining claims in
liquidations involving SIPC-member firms and their nonmember affiliates,
and the extent that these policies were disclosed to investors; (3) evaluate
SEC’s oversight of SIPC’s operations and compliance with SIPA; and (4)
compare the coverage provided by and disclosure rules for SIPC, FDIC,
and state insurance guarantee associations; and identify the implications
for greater confusion among consumers as some banks, securities firms,
and insurance companies consolidate their operations.

To meet the first two objectives, we reviewed SIPA and its legislative
history, court decisions, legal briefs, and other documents that were
relevant to understanding SIPC’s or its critics’ views concerning the legal
aspects of SIPC positions. Consistent with our general policy, we have not
taken a position on issues involving ongoing litigation. To review the
implementation of SIPC’s policies and to assess investor awareness of
these policies, we also reviewed a total of 152 customer claim files from 2
recent liquidations in which many claimants alleged unauthorized trading.
For each of the two liquidations, we randomly selected a sample of claim
files and reviewed documents from the files. These documents included
affidavits and other supporting evidence provided by the claimants, if any
were supplied, and the determination letter sent by the trustee to the
claimant that explained the reason for allowing or denying the claim. We
interviewed officials from SIPC and SEC, individuals who are or who have
served as SIPC trustees and their attorneys, and attorneys who have
represented claimants who have disputed trustee claim decisions
concerning both the unauthorized trading and affiliate issues. In addition,
we reviewed SIPC and SEC informational sources—such as brochures and
Web sites—to determine what SIPC disclosed to investors regarding its
policies and practices.

Page 22 GAO-01-653 Securities Investor Protection

7
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 28 of 29

 

Chapter 1: Introduction

 

To fulfill our third objective, to evaluate SEC oversight of SIPC, we
reviewed past SEC inspections of SIPC, the work plan and other
documents relating to SEC’s ongoing inspection of SIPC, a recent report
by the SEC’s Office of the Inspector General that reviewed SEC’s oversight
of SIPC,” our 1992 report on SIPC," and other SIPC and SEC documents.
We also interviewed officials in different organizational units of SEC,
including the divisions of Market Regulation (Market Regulation) and
Enforcement (Enforcement); the Office of General Counsel (OGC); the
Office of Compliance, Inspections, and Examinations (OCIE); and the
Northeast Regional Office (NERO) located in New York City.

To accomplish our fourth objective, to identify differences between SIPC
and other financial guarantee programs and the potential for increased
investor confusion as the financial services industry, we first compared
general characteristics of the coverage provided by SIPC, FDIC, and state
insurance guarantee associations. Then, we reviewed disclosure
requirements regarding firms’ participation in these organizations’
coverage. To compare SIPC to FDIC, we reviewed pertinent statutes,
regulations, and bylaws; and we interviewed officials from both
organizations. With respect to state insurance guarantee associations, we
focused on the 52 state life/health guarantee associations because the
policies they sell, such as annuities, more closely resemble investments
than do many of the types of insurance covered by property/casualty
insurance guarantee associations. For information on the life/health state
associations, we relied solely on information provided by the National
Organization of Life and Health Guarantee Associations, a group to which
all of the state associations belong. We did not verify the information this
organization gave us with individual state insurance laws.

 

" Oversight of Securities Investor Protection Corporation. Securities and Exchange
Commission Office of Inspector General. Audit Report No. 301. Mar. 31, 2000.

8 Securities Investor Protection: The Regulatory Framework Has Minimized SIPC’s Losses
(GADAGGD-92- 109, Sept. 22, 1992).

Page 23 GAO-01-653 Securities Investor Protection

 
Case 1:09-cr-00213-DC Document 111-2 Filed 09/30/09 Page 29 of 29

 

Chapter 1: Introduction

 

We obtained written comments on a draft of our report from SIPC and
SEC, which are provided in full in appendixes I and II. We did our work in
Jacksonville and Tampa, Florida; New York, New York; and Washington,
D.C., between March 2000 and April 2001 in accordance with generally
accepted government auditing standards.

Page 24 GAO-01-653 Securities Investor Protection

 
